 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Pagei of 55

Fill in this information to identify your case:

 

United States Bankruptcy Court for the:

District of Colorado

 

Case number (if known): Chapter you are filing under:
Chapter 7
O Chapter 11

U) Chapter 12
|

“PANE Ty a Fitep

EONAR fg
219 SEP praende sitar

US. g yy
bis aie ue

i QO Chapter 13

|
pager

Official Form 101 | 9- | 603 1 EEB Coty

Voluntary Petition for Individuals Filing for Bankruptcy

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debfor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

identify Yourself

12/17

 

 

 

 

About Debtor 4: About Debtor 2 (Spouse Only in a Joint Case):

1. Your full name

Write the name that is on your

government-issued picture Loren .

identification (for example, First name First name

your driver's license or William

passport). Middle name t } ! Middle name

Bring your picture Schrag fe A |

identification to your meeting —- Last name ° Last name

with the trustee.

Suffix (Sr., Jr., Hl, Hi) Suffix (Sr., Jr., Hi, HD)

 

2. All other names you
have used in the last 8

 

 

 

 

 

 

 

 

(ITIN)

 

First name First name
years
Include your married or Middie name Middle name
maiden names.
Last name Last name
First name First name
Middle name Middle name
Last name Last name
3. Only the last 4 digits of
your Social Security wx -xK-_ 0 4° 2° 9 ROO OE
number or federal OR OR
Individual Taxpayer 9
Identification number xX — XX — ae 9xx — x - —

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

page 1
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page2 of 55

 

 

 

Debtor 1 Loren William Sch rag Case number (known),
First Name Middle Nama Last Name.
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

LJ | have not used any business names or EINs.

Good Bull Outdoors, LLC

(] | have not used any business names or EtNs.

 

Business name

ber

Business name

 

Business name

EIN

EN

Business name

EIN

EIN

 

5. Where you live

10709 Jordan Court
Number Street

Parker, CO 80134

 

City State ZIP Code

Douglas

 

County

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

 

 

 

If Debtor 2 lives at a different address:

Number Street

 

 

City State ZIP Code

 

County

If Debtor 2’s mailing address is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

 

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ‘ZIP Code City State ‘ZIP Code
6. Why you are choosing Check one: Check one:

this district to file for
bankruptcy

a Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

Ot have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

(J Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(J t have another reason. Explain.
(See 28 U.S.C. § 1408.)

 

 

 

 

 

Official Form 104

Voluntary Petition for Individuals Filing for Bankruptcy page 2

 

 
Debtor 1

L

First Name

Loren William

Middle Name

}

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page3 of 55

Schrag

Last Name

Case number (known),

Tell the Court About Your Bankruptcy Case

7.

 

The chapter of the
Bankruptcy Code you
are choosing to file
under

How you will pay the fee

UL] Chapter 13

Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

Q Chapter 7
LJ Chapter 11
(J Chapter 12

 

C1 | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

CL} I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

| request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

 

 

 

9. Have you filed for WNo
bankruptcy within the
last 8 years? Ul Yes. District When Case number
MM / DD /YYYY
District When Case number
MM / DD/YYYY
District When Case number
MM/ DD/YYYY
10. Are any bankruptcy No
cases pending or being
filed by a spouse who is Ol Yes. Debtor Relationship to you
not filing this case with District When Case number, if known,
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known.
MM/DD/IYYYY
11. Do you rent your WNo. Go totine 12.
residence? (J Yes. Has your landlord obtained an eviction judgment against you?

Official Form 101

LQ No. Go to fine 12.

CJ Yes. Fill out Jnitial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
 

t

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page4 of 55

 

es?

Debtor 1 Loren William Sch rag Case number (if known)

First Name Middle Name Last Name

 

Report About Any Businesses You Own as a Sole Proprietor

12. Are youasole proprietor (J No. Go to Part 4.
of any full- or part-time
business? 2 Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

. ro Poration, partnership, or Number Sheet

 

Name of business, if any

 

If you have more than one
sole proprietorship, use a
separate sheet and attach it

 

 

 

 

to this petition. City State ZIP Code
Check the appropriate box to describe your business:
(J Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
L) Stockbroker (as defined in 11 U.S.C. § 401(53A))
| Commodity Broker (as defined in 11 U.S.C, § 101(6))
L] None of the above
43. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum or if
are you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
debtor?
a .. a No. [am not filing under Chapter 11.
For a definition of small
business debtor, see LJ No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
11 U.S.C. § 101(51D). the Bankrupicy Code.

( Yes. | am filing under Chapter 11 and | am a small business debtor according to the definition in the
Bankruptcy Code.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

 

14. Do youownorhaveany (ZjNno
property that poses or is ;
alleged to pose a threat Q) Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any
property that needs

 

: . oe ag 9
immediate attention? if immediate attention is needed, why is it needed?

For example, do you own

 

perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy : page 4
 

1

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Paged of 55

Debtor 4 Loren William Schrag

First Name Middle Name

 

Last Name

Case number (known),

Ca Explain Your Efforts to Receive a Briefing About Credit Counseling

 

18. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 101

About Debtor 1:

You must check one:

Wi i received a briefing from an approved credit
counseling agency within the 180 days before I
filed this bankruptcy petition, and | received a
certificate of completion.

Aftach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

(C) I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

C1 certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain ihe briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

CO tam not required to receive a briefing about
credit counseling because of:

(al Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CJ Disability. My physicat disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the intemet, even after |
reasonably tried to do so.

Q) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

CJ 1 received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) i received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

LI] | certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankrupicy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment pian you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) | am not required to receive a briefing about
credit counseling because of:

Incapacity. | have a menial illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LJ Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

U Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Bankruptcy page 5

 
1

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page6é of 55

Debtor 4 Loren William

First Name. Middle Name

} Part 6: Answer These Questions for Reporting Purposes

Schrag

Last Name

Case number (if known),

 

1s. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

Ci No. Go to line 16b.
{ Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

LI No. Go to line 16c.
CJ Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is

CJ) No. [am not filing under Chapter 7. Go to line 18.

WZ Yes. iam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

 

 

excluded and Wi No
administrative expenses
are paid that funds will be O Yes
available for distribution
to unsecured creditors?
18. How many creditors do 4-49 () 1,000-5,000 (J 25,001-50,000
you estimate that you LI 50-99 (L) 5,001-10,000 ( 50,001-100,000
owe? LJ 100-199 (J 10,001-25,000 U) More than 100,000
Q) 200-999
19. How much do you Q $0-$50,000 U) $1,000,001-$10 million U) $500,000,001-$1 billion

estimate your assets to
be worth?

L) $50,001-$100,000
 $100,001-$500,000
CJ $500,001-$1 million

CY $10,000,001-$50 million
CY $50,000,001-$100 million
CI $100,000,001-$500 million

C2 $1,000,000,001-$10 billion
3 $10,000,000,001-$50 billion
LJ More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

Sign Below

For you

CJ $0-$50,000

CJ $50,001-$100,000
Wi $100,001-$500,000
CJ $500,001-$1 miltion

UJ $1,000,001-$10 million

LJ $10,000,001-$50 million
LY $50,000,001-$100 million
LJ $100,000,001-$500 million

LJ $500,000,001-$14 billion

LJ $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 bition
LJ More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

lf no attomey represents me and | did not pay or agree to pay someone who is not an attomey to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

X Loren William Schrag
Signature of Debtor 1

Executed on 09/13/2

Yv Signature of Debtor 2

Executed on

MM / DD /YYYY

MM / DD /YYYY

 

Official Form 101

Voluntary Petition for individuals Filing for Bankruptcy

page 6

 
 

 

3 i Sys ie USOT SS OY UR PIS

1

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page7 of 55 |

Debtor 4 Loren William Schrag Case number (riown)

First Name Middle Name Last Name

 

 

1, the attomey for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

For your attorney, if you are
represented by one

 

 

 

 

 

 

 

 

need to file this page. x
Date
Signature of Attomey for Debtor MM / ODD IYYYY
Printed name
Firm name
Number Street
City State ZIP Code
Contact phone Email address
Bar number State

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Pages of 55

Debtor 41 Loren William

First Name Middle Name-

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

Schrag Case number iown):

Last Name.

The law atlows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you pian to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. if you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

LJ No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned? .

CL) No

WJ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
4 No

CJ Yes. Name of Person :
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

/

f

 

 

 

 

 

 

/ A “4
X Loren William Schrag { LEX SZ x
Signature of Debtor 1 , 4 J Signature of Debtor 2
Date 09/13/201 of Date
MM/DD /YYYY : MM/ DD IYYYY

Contact phone (720) 443-8060 Op Contact phone

Cell phone (720) 443-8060 Cell phone

Email address Lschrag1 3@hotmail.com Email address

Official Form 101

 

 

Voluntary Petition for Individuals Filing for Bankruptcy page 8

 

 
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page9 of 55

 

 

 

 

 

 

|

{LED
KENNETH S. GARDNER, CLERK Certificate Number: 11557-CO-CC-033389469

2019 SEP 17 P 3
spreycoeey,—MIUINAMIN NNN 00011

US. BANKRUPTCY COURT
FE ET COLORADO OCS

CERTIFICATE OF COUNSELING

I CERTIFY that on September 10, 2019, at 4:28 o'clock PM MST, Loren Schrag
received from Academy of Financial Literacy, Inc., an agency approved pursuant
to 11 U.S.C. 111 to provide credit counseling in the District of Colorado, an
individual [or group] briefing that complied with the provisions of 11 U.S.C.
109(h) and 111.

 

 

A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.

This counseling session was conducted by internet.

Date: September 10, 2019 By: /s/Phillip Eugene Day
Name: Phillip Eugene Day

Title: Owner

* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. 109(h) and 521(b).

 

 

Ht
 

Case:19-18031-EEB Doc#:2

Fill in this information to identify your case:

Debtor 1 Loren William

Schrag

 

First Name Middie Name

Debtor 2

Last Name

 

(Spouse, if filing) First Name Middle Name
United States Bankruptcy Court for the: District of Colorado

Case number

Last Name

 

(if known)

 

 

Official Form 107

Filed:09/17/19 Entered:09/18/19 10:08:13 Page10 of 55

FILED
KENNETH ¢: GARDNER, CLERK

219 SEp |
Us. ] CPordulttihis is an

-BANKRUp patiing
ISTRICT OF ca eae

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/19
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.
Give Details About Your Marital Status and Where You Lived Before
1. What is your current marital status?
wi Married
LJ Not married
2. During the last 3 years, have you lived anywhere other than where you live now?
wf No
CL) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
Debtor 1: Dates Debtor1 Debtor 2: Dates Debtor 2
lived there lived there
CL) same as Debtor 1 ta Same as Debtor 1
From From
Number Street Number Street
To _ To
City State ZIP Code City State ZIP Code
QQ) Same as Debtor 1 LJ same as Debtor 1
From From
Number Street Number Street
To To
City State ZIP Code City State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

UI No

wf Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

laws Explain the Sources of Your Income

 

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 1

 
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page1i of 55

Debtor1 Loren William Schrag

Case number (fkaown),
First Name Middle Name Last Name

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

() No
i Yes. Fill in the details.

 

Sources of income Gross income Sources of income Gross income

Check all that apply. (before deductions and = _ Check all that apply. (before deductions and
exclusions) exclusions)
From January 1 of current year until P| pages, commissions, $ 5,338.00 O pages, comin issions, $
the date you filed for bankruptcy: USES, UPS rrr 7 HP
YQ Operating a business Q Operating a business
For last calendar year: a Wages, commissions, a Wages, commissions,
. bonuses, tips $ 109,226.00 bonuses, tips $
(January 1 to December 31,2018 __) CJ operating a business (C2 operating a business
For the calendar year before that: wi Wages, commissions, im Wages, commissions,
" bonuses, tips 5 133.216.00 bonuses, tips $
(January 1 to December 31, 201 7 CJ Operating a business , C} Operating a business

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Cl No
Wi Yes. Fill in the details.

 

Sources of income Gross income from Sources of income Gross income from
Describe below. each source Describe below. each source
(before deductions and (before deductions and
exclusions) exclusions)

From January 1 of current year until Child Support _ $__3,357.00_
the date you filed for bankruptcy:

 

 

$ —_—
$e Fg
For last calendar year: Child Support $ 14,400.00 §
(January 1 to December 31,2018 _) Unemployment ¢ 12,537.00
YW

Ret. Acct. Dist. $ 30,535.00

 

For the calendar year before that: Child Support 5 14,400.00
(January 1 to December 31,2017) ~~ Ret. Acct. Dist. $ 9,162.00
WH

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page12 of 55

Debtor 4 Loren William Schrag _ Case number (raown)

First Name Middie Name Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

 

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

L] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

LJ No. Go to line 7.

(J Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attomey for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

a Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
Wf No. Go to line 7.

L) Yes. List below each creditor to whom you paid a total of $600 or more and the total ammount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attomey for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment for...
payment

$ $ Q) Mortgage
Q Car

Number Street CY credit card

 

 

Creditor's Name

 

| Loan repayment

 

| Suppliers or vendors

 

City Slate ZIP Cade CL other

$ §. ( Mortgage
QI car
L) credit card

 

 

Creditor's Name

 

Number Street
Q Loan repayment

 

QQ Suppliers or vendors
C other

 

City State ZIP Code

 

$ $ ) Mortgage
Q) Car

L) credit card

 

Creditors Name

 

Number Street
WY Loan repayment

 

Q Suppliers or vendors

L) other

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 
Debtor 4 Loren

First Name

 

William Schrag

Last Name

i

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page13 of 55

Case number (ifiown)

 

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101, Include payments for domestic support obligations,
such as child support and alimony.

Wi No

J Yes. List all payments to an insider.

 

 

 

 

 

 

 

 

 

Dates of Total amount Amount you still Reason for this payment
Payment paid owe
3 $ |
insider's Name \
Number Street
City State ZIP Code :
$ $
insider's Name :
Number Street
City State ZIP Code

8. Within 1 year before you fiied for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

include payments on debts guaranteed or cosigned by an insider.

i No

UI] Yes. List all payments that benefited an insider.

Dates of
payment

 

Insider's Name

 

Number Street

 

 

City

State ZIP Code

 

insider's Name

 

Number Street

 

 

City

Official Form 107

State ZIP Code

Total amount Amount you still. Reason for this payment

paid owe Include creditor's name

$ $ |

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 

 
 

 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page14 of 55

Debtor 1 Loren William Schrag Case number (ifknown)
First Name Middle Name Last Name

 

 

lei identify Legal Actions, Repossessions, and Foreclosures

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

LI No
Wi Yes. Fill in the details.

 

 

 

 

 

 

 

 

 

Nature of the case Court or agericy. Status of the case

Judgment for payment of District Court, Douglas County CO
case tite Clarke Farms Comm. __ QA fees on behalf of ‘Sout Name 3 y CY Pending

Clarke Farms HOA inthe . C2 on appeal
Assoc. v. Loren W. Schrag ‘amount of $1883.34 plus | 4000 Justice Way, #2009 Wd conctuded

| 18% interest.
Case number _2019C032675 i” Castle Rock CO 80109

City State ZIP Code
: “Order by the magistrate for District Court, Douglas County CO

Case tite Re the marriage of Stepy Loren Schrag to pay Court Name 2 y Cd Pending

_ Stephanie Schrag . C) on appeal
Schrag and Loren Schrag | $1 0, 619.10 within 60 days | 4000 Justice Way, #2009 Gl conciuded
Case number 15DR412 Castle Rock CO 80109

 

 

Giy State ZIP Code

 

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below,

LI No. Go to fine 11.
| Yes. Fill in the information below.

 

 

Describe the property Date Value of the property
2016 Chevy Suburban LTZ |
JP Morgan Chase Bank, N.A. $
Creditor’s Name : oo
Number Street Explain what happened

wi Property was repossessed.
(J Property was foreclosed.

New York City NY 10017 C] Property was gamished.
City State ZIP Code (2) Property was attached, seized, or levied.

 

 

 

 

Describe the property Date Vaiue of the property

 

Creditor’s Name

 

Number Street
Explain what happened

 

{J Property was repossessed.
Property was foreclosed.

CI Property was garnished.

C) Property was attached, seized, or levied.

 

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page1i5 of 55

 

3

Debtor 4 Loren William Schrag Case number (town)

First Name Middte Name Last Name

11. Within $0 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
‘accounts or refuse to make a payment because you owed a debt?

i No

(2 Yes. Fill in the details.

 

 

 

 

 

 

Describe the action the creditor took Date action Amount
was taken
Creditors Name - :
$
Number Street
City State ZIP Code Last 4 digits of account number: XXXX—

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

| No
] Yes

Ea List Certain Gifts and Contributions

 

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi No

C) Yes. Fill in the details for each gift.

 

 

 

 

 

Gifts with a total value of more.than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave the Gift !
$
Number Street
City State ZIP Code
Person's relationship to you ‘
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person / es the gifts
! $
Person to Whom You Gave the Gift
$

 

 

Number Street

 

City State ZIP Code

Person’s relationship to you '

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Pagei6 of 55

Debtor 4 Loren William Schrag Case number (rknown)

First Name Middle Name Last Name

 

 

14.Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

@ No

(2 Yes. Fill in the details for each gift or contribution.

 

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 : contributed
|
= $
Charity’s Name |
§

 

 

Number Street : :

 

City State ZiP Code

List Certain Losses

18, Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling?

Wf No

CI Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . cage ae loss lost
include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

 

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wi No

LJ Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or |§Amount of payment
transfer was
Person Who Was Paid - en . seen made
Number Street $
$

 

City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 

 

 

 
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page1i7 of 55

 

 

 

 

 

 

 

 

 

Debtor 1 Loren William Schrag Case number (known)
First Name Middle Name Last Name
Description and value of any property transferred Date payment or Amount of
transfer was made. ‘payment
Person Who Was Paid
$

Number Street

$.
City State ZIP Code
Email or website address

 

 

Person Who Made the Payment, if Not You

i
I

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on fine 16.

Wf No

L] Yes. Fill in the details.

 

 

 

 

Description and value of any property transferred Date payment or Amount of payment
transfer was
. _ made

Person Who Was Paid :

Number Street $
|

$
City Slate ZIP Gode

 

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.
Fs No
Q Yes. Fill in the details.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code

Person’s relationship to you

 

 

Person Who Received Transfer

 

Number Street

 

 

City State ZIP Code _ _ j

 

Person’s rejationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 8

 

 

 
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page18 of 55

Debtor 4 Loren William Schrag Case number (if known)
FirstName Middie Name . Last Name

 

 

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

i No

(C2 Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

 

 

Zien List Certain Financial Accounts, instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

C2 No
Wf Yes. Fill in the details.

 

 

 

 

 

 

 

 

Last 4 digits of account number. Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
USAA Federal Savings Bank
Name of Financial Institution nooe_5 8 5 7 wa Checking 09/19/2018 $ -11,364.00
10750 McDermoit Fwy 0 savi
Number Street Savings
: CD money market
San Antonio TX 78230 C2 Brokerage
City State ZIP Code CO other
XXXX__ (C) checking $
Name of Financial institution
Q Savings
Number Street Q Money market
| Brokerage
78230 C] other.

 

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

od No
C] Yes. Fill in the details.

 

 

 

 

 

 

Who else had access to it? Describe the contents Do you still
a have it?
OI No
Name of Financial Institution Name (Yes
Number Street Number Street
City State ZIP Code :

 

City State ZIP Code

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

 

 
 

 

j

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page19 of 55

Loren

Debtor 1 ~\
First Name

Middle Name

No
Cl Yes. Fill in the details.

William

Schrag

Last Name

Case number (known),

22.Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

 

 

 

 

 

 

 

Who else has. or had access to it? Describe the contents Do you still
a ’ have it?
O1No
Name of Storage Facility Name | Cyes
Number Street Number Street
GityState ZIP Code
City State ZIP Code
EE tiontiry Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? include any property you borrowed from, are storing for,
or hold in trust for someone.
No
Gd Yes. Fill in the details.
Where is the property? Describe the property Value
Loren Haddon Schrag, Jr. | Firearms (pistols, shotguns,
Owner's Name long rifles), scopes, knives, — ¢_ 10,000.00

208 3rd St. West

10709 Jordan Ct

and accessories.

 

Number Street

 

Collectible coins.

Gun Safe.
Parker CO 80134 _ Utility Trailer

City State ZIP Code

Number Street

 

 

 

MT 59072

Roundup
i State ZIP Code

City
Give Details About Environmental Information

 

For the purpose of Part 10, the following definitions apply:

2 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

a Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental! unit notified you that you may be liable or potentially liable ynder or in violation of an environmental law?

Wi No

C Yes. Fill in the details.

 

 

 

 

Governmental unit _Environntental law, ifyou know it - Date of notice
Name of site Governmental! unit
Number Street Number Street -
City State ZIP Code
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

 
 

3 | I i i

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page20 of 55

Debtor 1 Loren William Schrag Case number (Fknown)
First Name Middie Name Last Name

 

25. Have you notified any governmental unit of any release of hazardous material?

W No

(J Yes. Fill in the details.

 

 

 

 

Governmental unit Environmental law, if you know it Date of notice
| |
| Name of site Governmental! unit i
|
| Number Street Number Street i
| |
i City State ZIP Code |

City State zip Code

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

C) Yes. Fill in the details.

 

 

 

 

 

Court or agency Nature of the case Status of the
Case title
Court Name Q Pending
Q On appeal
Number Street 22 conctuded
Case number City State ZIP Code

Give Detalis About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
UC) A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
A member of a limited liability company (LLC) or limited liability partnership (LLP)
CQ) A partner in a partnership
C2 An officer, director, or managing executive of a corporation

 

CI An owner of at least 5% of the voting or equity securities of a corporation

Q No. None of the above applies. Go to Part 12.
wi Yes. Check all that apply above and fill in the details below for each business.
Describe the nature of the business Employer Identification number
Good Bull Outdoors, LLC Do not include Social Security number or ITIN.

 

 

 

 

Business Name ae talneentath vocninicdnenmminay
‘Outdoor industry media/content company |
10709 Jordan Ct . : /gin: 8 3-3 0 4 5 3 6 7
Number Street (plus IT and veterinary consulting, =
_ Name of accountant or bookkeeper a Dates business existed
Loren William Schra |
Parker CO 80134 9 | From02/02/2018to
City State. ZipCode ee
Describe the nature of the business Employer identification number

 

 

usinose Name . ee ee Do not include Social Security number or ITIN.

 

 

 

 

 

 

EIN:
Number Street : ,
Name of accountant or bookkeeper Dates business existed
| From To
City State ZIP Code :

 

 

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 11
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page21 of 55

Debtor 1 Loren William Schrag Case number (known)
First Nama Middle Name Last Name

 

Employer Identification number
Do not include Secial Security number or ITIN.

Describe the nature of the business

 

Business Name

 

 

| | EIN: -
Number Street Name of accountant or bookkeeper Dates business existed
From __s‘To

 

 

City State ZIP Code : :

 

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

4 No

UL) Yes. Fill in the details below.

Date issued

 

Name MM/DD/YYYY

 

Number Street

 

 

City State ZIP Code

kere Sign Below

 

I have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

% Loren William Schrag x
Signature of Debtor 1 Signature of Debtor 2
Date 09/13/2019 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
ud No
C) Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
af No

L Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119),

 

 

 

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12

 
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page22 of

 

 

 

 

55

Fill in this information to identify your case:
Debtor1 Loren William Schrag

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of Colorado K ENN FILED

ETHS, GARDWAReWacRAE this is an

Case number >

{if known) amended filing

 

109 SEP 1

3 4y

US. BANKRUPTCY
_ BIS Fe MRUPTCY courT
Official Form 106Sum STRICT OF COL oRADD

Summary of Your Assets and Liabilities and Certain Statistical Information

 

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

Your assets
Value of what you own

1. Schedule A/B: Property (Official Form 106A/B)

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B..........:ccccsscessressessssersersressnesseseneestanresseneessaeesesusavarscineciesnevsegeensesenses $ __ 421,000.00
1b. Copy line 62, Total personal property, from Schedule A/B.......scccsceccessscseesssessssussssssscssessecsatasssessesseaecoessecsneeessesseaneonenaste 5 29,779.00
| 1c. Copy line 63, Total of all property on Schedule A/B .............-scescscscscsscceccnsensarescnscsenseaneeneaqessenanscecesanecascasaesseseesesseneeneeasens $ 450,779.00

 

 

 

 

Summarize Your Liabilities

Your liabilities
Amount-you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

 

 

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............ $ ___ 318,333.00
| 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 13.873.00
; 3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F ww... tec sssseeessceeseeeens $__ivehes

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ........csccsseseeeeesesserees + 5 85,804.00
| Your total liabilities g__ 418,010.00
Summarize Your Income and Expenses
4. Schedule I: Your Income (Official Form 1061) 4.201.00
: Copy your combined monthly income from line 12 Of Schedule I o..eccccccccsecscccssscessssccesseseeesnscessececccasaceresseatsnacseseseeneneens $e
5. Schedule J: Your Expenses (Official Form 106J)

Copy your monthly expenses from line 22c of Schedule J ..............-..cceeee $ ____5,157.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

 
{
4
t
j
i

 

4

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13

Debtor 4 Loren William Schrag Case number (itknown)

Fast Name Middle Name Last Name

iwie-ws Answer These Questions for Administrative and Statistical Records

Page23 of 55

 

| 6 Are you filing for bankruptcy under Chapters 7, 11, or 137

(3 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Wi Yes

 

| 7. What kind of debt do you have?

wi Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,

family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

C) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit

this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.

 

 

$ 312.00

 

 

 

: 9, Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

Totai claim
From Part 4 on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy fine 6a.) ¢___ 13,903.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) ss (0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
9d. Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
Sf. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +3 0.00
9g. Total. Add lines 9a through 9f. . $ 13,903.00

 

 

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information

page 2 of 2

 
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19

Fill in this information to.identify rena case and this filing:

William

Middle Name

Schrag

Last Name

Loren
First Name

Debtor 1

 

Debtor 2
(Spouse, if filing) First Name

 

Middie Name Last Name
United States Bankruptcy Court for the: District of Colorado

Case number

 

 

 

Official Form 106A/B
Schedule A/B: Property

 

Entered:09/18/19 10:08:13 Page24 of 55

dai sep lp

US. Bay
DISTRE AUP FG couar

 

ONER
, fy CLERK if this is an

P > apygnded filing

 

12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C) No. Go to Part 2.

Wi Yes. Where is the property?
What is the property? Check all that apply.

of Single-family home

1.1, 10709 Jordan Court 2 duplex or multi-unit building

Street address, if available, or other description

 

UU Condominium or cooperative
(J Manufactured or mobile home

 

 

 

Do not deduct. secured claims:or exemptions. Put
the amount of any secured claims on Schedule. D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

¢ 421,000.00 ¢ 421,000.00

 

Describe the nature of your ownership La
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

Who has an interest in the property? Check one. |

 

QJ tana
Parker, CO 80134 U1 Investment property
cy Slate ip code” ‘| Timeshare

LJ Other
Douglas bf Debtor 4 only
County CI Debtor 2 only

If you own or have more than one, list here:

1.2.

 

Street address, if available, or other description

 

 

State ZIP Code

City

 

County

Official Form 106A/B

CD check if this is community property

QJ Debtor 1 and Debtor 2 only : .
(see instructions)

(J At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

 

What is the property? Check all that apply.
O Single-family home

a) Duplex or multi-unit building

QY Condominium or cooperative

Do not deduct secured claims or. exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

(J Manufactured or mobile home entire property? portion you own?

LY Land $ $

CJ investment property

(J Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by

Cl other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
C3 Debtor 4 only

CI Debtor 2 only

CL] Debtor 4 and Debtor 2 only

(J At least one of the debtors and another

 

CJ check if this is community property
(see instructions)

Other information you wish to add about this item, such as local
property identification number:

 

Schedule A/B: Property page 1
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page25 of 55

William

Middle Name

Loren

First Name

Debtor 1

1.3.
Street address, if available, or other description

 

 

Last Name

 

 

 

Schrag

What is the property? Check ail that apply.
QO Single-family home

Q Duplex or multi-unit building

(J Condominium or cooperative

 

Case number (known),

Do not deduct secured claims or exernptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the

 

 

 

 

 

 

LJ Manufactured or mobile home entire property? portion you own?
CO Land $ $
CJ investment property
City Slate zip Code 0 Timeshare Describe the nature of your ownership
interest (such as fee simple, tenancy by
C) other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
CJ Debtor 4 only
County 2) Debtor 2 only
C2 Debtor 1 and Debtor 2 only Q Check if this is community property
(1) At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as focal
property identification number:
2, Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 421,000.00
you have attached for Part 1. Write that number here. .............0.0.0.ccccccccecuseccccccsncecessccecsrccessecssensesecvaueensereeesnueee >

ra Describe Your Vehicles

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

LJ No
Wl Yes
3.4. Make: Dodge
Model: RAM 1500
Year: 2010
121000

Approximate mileage:

Other information:

 

 

 

 

If you own or have more than one, describe here:

3.2, Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.

Wi debtor 1 only

CJ Debtor 2 only

C Debtor 1 and Debtor 2 only

(CJ At least one of the debtors and another

C] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

(J Debtor 1 only

CQ) Debtor 2 only

LJ Debtor 1 and Debtor 2 only

©) At least one of the debtors and another

CI] Check if this is community property (see
instructions)

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

$ 7,801.00 ¢ 7,801.00

 

Do not deduct secured claims.or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims.Secured by Property.

Current value of the Current value of the
entire property? portion you own?

page 2
 

 

4

Case:19-18031-EEB Doc#:2

 

+

Filed:09/17/19 Entered:09/18/19 10:08:13 Page26 of 55

 

Who has an interest in the property? Check one.

Debtor1 Loren William Schrag
First Name Middle Name Last Name
3.3. Make:
Model: (} Debtor 1 only
(2 Debtor 2 only
Year:

Approximate mileage:

Other information:

 

 

 

 

3.4. Make:
Model:
Year:
Approximate mileage:

Other information:

 

 

 

 

(2 Debtor 1 and Debtor 2 only
LI] At feast one of the debtors and another

() Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

C} Debtor 4 only

C) Debtor 2 only

J Debtor 1 and Debtor 2 only

(C1) At teast one of the debtors and another

Q] Check if this is community property (see
instructions)

Case number (known)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have. Claims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

a No
Ql Yes

4.1. Make:
Model:
Year:

Other information:

 

 

 

 

if you own or have more than one, list here:

42, Make:
Model:
Year:

Other information:

 

 

 

 

Official Form 106A/B

Who has an interest in the property? Check one.
C} Debtor 1 only

LL] Debtor 2 only

CJ} Debtor 1 and Debtor 2 only

CI} At feast one of the debtors and another

(] Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
U2 Debtor 1 only

(3 Debtor 2 only

Q] Debtor 7 and Debtor 2 only

LJ At least one of the debtors and another

) Check if this is community property (see
instructions)

§. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

Do not deduct secured claims or éxemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who. Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Glaims Secured by Property.

Current value ofthe Current value of the
entire property? portion you own?

428,001.00

 

Schedule A/B: Property

page 3

 
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13

William

Last Name

Loren
First Name

Schrag

Debtor 1 Case number (finown),

 

Middle Name

Describe Your Personal and Household items

Page27 of 55

 

Do.you own or have any Jegal or equitable interest in any. of the following items?

Current value of the
portion you own?

 

Do. not deduct secured claims
or exemptions.
6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware
C3 No .
WZ Yes. Describe......... Appliances, furniture, kitchenware, china, $ 2,000.00

 

 

 

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games

i] No

 

d Yes. Describe......... Two TVs, 2 computers, 1 printer, 4 cell phones, 1 camera.

 

 

 

8. Collectibles of vaiue

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

WA No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CI Yes. Describe.......... $ 0.00
9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes

and kayaks; carpentry tools; musical instruments

LJ No

LA 4 . . ®

Yes, Describe.......... Golf clubs, 1 set skis, exercise equipment, tools $ 2,000.00
10. Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

VW No —

CI Yes. Describe.......... | $ 0.00
11.Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

No . . -

Yes. Describe.......... | Clothes for 2 adults, 3 children $ 2,000.00
12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

gold, silver

No 2,500.00

Md Yes. Describe........ Rings, necklaces, watches, earrings $___<“———
13. Non-farm animals

Examples: Dogs, cats, birds, horses

i No ,

CQ Yes. Describe.......... j $ 0.00

{

14, Any other personal and household items you did not already list, including any health aids you did not list

2 No .

(A Yes. Give specific $ 2,500.00

information. ............. Books, family pictures, hearing aids, glasses, contacts, medicine, food, fuel a

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here ooo... cece ccc csseccaccaessecsececesveveseesueccusaravacuvecauareueaarsuscaesauensnssnessaserueceasuessesesees >

Official Form 106A/B Schedule A/B: Property

$ 1,000.00

 

$______ 12,000.00.

 

 

 

page 4

 

 
 

i £ ij

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page28 of 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Loren William Schrag Case number (if known).
First Name Middle Name Last Name

| porta: Describe Your Financial Assets

: Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured:claims
or exemptions.

16.Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

LJ No

Wl Yes CASH ne § 40.00

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,

and other similar institutions. If you have multiple accounts with the same institution, list each.

LI No

Ve eeceeccceeeccoees Institution name:

47.4. Checking account: US Bank - Good Bull Outdoors, LLC $ 187.00
17.2. Checking account: TCF Bank $ -277.00
17.3. Savings account: Capital One 360 5 28.00
17.4. Savings account: $
17.5, Certificates of deposit: $
17.6. Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18. Bonds, mutual funds, or publicly traded stocks

Examples: Bond funds, investment accounts with brokerage firms, money market accounts

4 No

i institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

an LLC, partnership, and joint venture

LJ No Name of entity: % of ownership:

Q Yes. Give specific | Good Bull Outdoors, LLC 50% % $ 0.00
information about 0% a
them. 9 % $

0% %

 

Official Form 106A/B Schedule A/B: Property page 5

 
 

{

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page29 of 55

Debtor 4 Loren William

Schrag _

Case number (ifkiown),

 

First Name Middie Name

Last Name

20, Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

i No

L Yes. Give specific
information about

issuer name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Lt $
$
$

21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
i No
W) Yes. List each

account separately. Type of account: institution name:

407 (k) or similar pian: $
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
\4 No
CD Ye one ccccecsccecttee institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
W No
i Issuer name and description:
$
§.
$

Official Form 106A/B

Schedule A/B: Property

page 6

 
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page30 of 55

Debtor 1 Loren William Schrag Case number (if known),
First Name Middle Name Last Name

 

 

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

W No

CD VES eens Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

Wi No

 

CI Yes. Give specific
information about them.....| $

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

 

 

 

 

 

 

 

 

C} No
4) Yes. Give specific Good Bull Outdoors, LLC owns digital images and video plus 0.00
information about them....' gggdbulloutdoors.com (unused domain name) - value is unknown $—__-""
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
i No
UL] Yes. Give specific
information about them... $
Money or property owed to you? Current.value of the

portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
i No

LI Yes. Give specific information
about them, including whether
you already filed the returns State: $
and the tax years. .... eee

 

Federal: $

 

Locak

 

 

29. Family support
Examples: Past due or jump sum alimony, spousal support, child support, maintenance, divorce setttement, property settlement

Wi No

 

 

 

 

 

LU Yes. Give specific information..............
Alimony: $
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Sociai Security benefits; unpaid loans you made to someone else
No
CI Yes. Give specific information...............
$

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
 

i]
4

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page31 of 55

Debtor 1 Loren William Schrag Case number (known),

First Name Middle Name Last Name

 

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

W No

LJ Yes. Name the insurance company Company name: Beneficiary:
of each policy and list its value. ...

Surrender or refund value:

 

 

 

 

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are re currently entitled to receive
property because someone has died.

WZ No

 

Ld Yes. Give specific information..............

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

Wd No

 

(C} Yes. Describe each claim. «0.0... '

 

 

 

to set off claims

Wi No

 

C) Yes. Describe each claim. oo... ccc

 

 

35. Any financial assets you did not already list

 

W No i

LJ] Yes. Give specific information............ |

 

 

[$s |
$
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
$
is
36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4, Write that number here > $ -22.00

 

 

 

 

| Pare | Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37.Do you own or have any legal or equitable interest in any business-related property?
C2 No. Go to Part 6.
Wd Yes. Go to line 38.

38. Accounts receivable or commissions you already earned
No

Current value of the
portion you own?

Do not. deduct secured claims
or exemptions.

 

UJ Yes. Describe.......

 

\ 0.00.

 

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, tugs, telephones, desks, chairs, electronic devices

LJ No

 

Yes. Describe........

 

Computers, office equipment, supplies.

Official Form 106A/B Schedule A/B: Property

8 1,000.00

page 8
4 i

e32 of 55

 

i

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Pag

Debtor 4 Loren William Schrag Case number (known)

First Name Middle Name Last Name

 

40.Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

(C2 No
Wd Yes. Describe.......

 

8,000.00

° =a)

Phoio and video equipment and accessories. !T tools and supplies, Outdoor indus
sro +

 

41. Inventory
LI No
0 Yes. Describe......

 

Photographic prints, electronic images/videos s__ 1,000.00

 

 

 

42.\nterests in partnerships or joint ventures

Wf No ,

CI Yes. Describe...... Name of entity: % of ownership:
% $
%
% $

 

A

43. Customer lists, mailing lists, or other compilations
( No
\ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
LI No
Yes. Describe........

 

 

! Clients list includes names, addresses, home phone numbers. s_—«.

 

44. Any business-related property you did not already list
Wd No

C0 Yes. Give specific
information .........

 

 

 

 

 

Ff CP fH Tf FH

 

 

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached

10,000.00
for Part 5. Write that number here >

Roe)

 

 

 

 

ia 1 a ano Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

 

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
Wi No. Go to Part 7.
LI Yes. Go to fine 47.

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

dl No

 

 

 

 

Official Form 106A/B Schedule A/B: Property page 9

 
 

j i

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page33 of 55

 

Debtort Loren William Schrag Case number (known)
. First Name Middle Name Last Name

 

48. Crops—either growing or harvested

Wi No

LJ Yes. Give specific
information............. $

 

 

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
No

 

 

 

 

 

 

 

 

51. Any farm- and commercial fishing-related property you did not already list
Wi No

UO) Yes. Give specific
information. ............ $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here > rr

 

 

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

C3 No
Yes. Give specific | ! May have approximately 100k miles from Delta Airlines but | don't know
information. ............ what their value would be or if they're even active.

 

0.00

 

 

 

> $ 0.00

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number here

 

 

List the Totais of Each Part of this Form

 

 

 

 

 

 

 

 

 

55. Part 1: Total real estate, line 2 »> $421,000.00
56. Part 2: Total vehicies, line 5 $ 7,801.00

57. Part 3: Total personal and household items, line 15 $ 12,000.00

58. Part 4: Total financial assets, line 36 $ -22.00

59. Part 5: Total business-related property, line 45 $ 10,000.00

60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00

61.Part 7: Total other property not listed, line 54 +g 0.00

62. Total personal property. Add lines 56 through 61. .................... $ 29,779.00 Copy personal property total = Fs 29,779.00
63. Total of all property on Schedule A/B. Add line 55 + line 62.0.0... cseeccssssscssessescsssnsacseesessnsaseeseneeseaseneessccatavacscessscsane $ 450,779.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 10
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page34 of 55

 

Fill in this information to identify your case:

Debtor 4 Loren William Schrag
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name

 

United States Bankruptcy Court for the: District of Colorado

 

Case number (] Check if this is an
(if known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/9

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

 

 

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a

‘ specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in doflar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

wf You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
UJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

 

 

 

 

 

 

Schedule A/B that tists.this property portion. you.own
Copy the value from Check only.one box for each exemption.
Schedule A/B
Brief . .
description: —10709JordanCt $421,000.00 4s 75,000.00 C.R.S. § 38-41-201-209
Line from (2 100% of fair market value, up to
Schedule A/B: 1-1 any applicable statutory limit
description: 2010 Dodge Ram $7,801.00 as 7,500.00 C.R.S. § 13-54-102(1)(j)(1)
: 100% of fair market value, up to
Schedule A/B: 31 any applicable statutory limit
description: ousehold Goods $3,000.00 Ws 3,000.00 C.R.S. § 13-54-102(1)(e)
Line from L 100% of fair market vatue, up to
Schedule A/B: 3.6/7. any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

Wf No

() Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

a)
LI Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
Debtor 1

Loren

 

William:

Schrag:

 

Fist Name:

‘Middie: Name-

ee Additional Page

Last Name:

Case number (known),

i

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page35 of 55

 

Brief description of the property and line
on Schedule A/B that lists this property

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from

Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Schedule A/B:

Official Form 106C

Current value of the
portion you own

Amount of the exemption you claim

Check only one box for each exemption

 

U2 100% of fair market value, up to
any applicable statutory limit

 

LI 100% of fair market value, up to
any applicable statutory limit

 

CI) 100% of fair market value, up to
any applicable statutory limit

 

CJ 100% of fair market value, up to
any applicable statutory limit

 

Wi 100% of fair market value, up to
any applicable statutory limit

 

Wf 100% of fair market value, up to
any applicable statutory limit

 

LJ 100% of fair market value, up to
any applicable statutory limit

 

w 100% of fair market value, up to
any applicable statutory limit

 

C4 100% of fair market value, up to
any applicable statutory limit

 

LJ 100% of fair market value, up to
any applicable statutory limit

 

 

C2 100% of fair market value, up to
any applicable statutory limit

Copy the value from

Schedule A/B
Clothing $ 2,000.00 Hs 2,000.00
3.11
slewelry 2,500.00 (4s __ 2,500.00
3.12
Books/family picture sg 2,500.00 fs 2,500.00
3.14
Business Property $ 10,000.00 fg 30,000.00
5
Child Support $ Os
Crime Victims Comp sg Os
Fuel and provisions $ 600.00 ws 600.00
3.14
Unemployment $ Us
—______—. § Lis

$ Lis

$ Os

$ Lis

 

(J 100% of fair market value, up to
any applicable statutory limit

Schedule C: The Property You Claim as Exempt

Specific laws that allow exemption

C.R.S. § 13-54-102(1)(a)

 

C.R.S. § 13-54-102(1)(b)

 

C.R.S. § 13-54-102(1)(c),(p)

 

C.R.S. § 13-54-102(1)(i)

 

C.R.S. § 13-54-102(1)(u)

 

C.R.S. § 13-54-102(1 Yq)

 

CRS. § 13-54-102(1)(f)

 

C.R.S. § 13-54-102

 

 

 

 

 

page 2 of 2.

 

 
 

4

Case:19-18031-EEB Doc#:2

  

Fill. in this. information to identify your case:

William

Middle Name

     

Loren

First Name

Schrag

Last Name

Debtor 1

   

 

 
  

           
   
 

Debtor 2
(Spouse, if filing) First Name

 

Middle Name

    

Last Name

United States Bankruptcy Court for the: District of Colorado

  
 

Case number
(if known)

 
 

 

  

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Property

 

Filed:09/17/19 Entered:09/18/19 10:08:13 Page36 of 55

(} Check if this is an
amended filing

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any

additional pages, write your name and case number (if known).

1, Do any creditors have claims secured by your property?

LJ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

 

 

 

 

 

Column A _ColumnB Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately" amount of claim Value of collateral Unsecured
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Donotdeductthe that supports this. portion
As much as possible, list the claims in alphabetical order according to the creditor's name. value of collateral. claim: lfany
[ 2.4] PHH Mortgage Describe the property that secures the claim: $ 311,057.00 $ 421,000.00 $ 0.00
Creditors Name
PO Box 5452 10709 Jordan Court, Parker CO 80134
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
Mount Laure} NJ 08054 a Uniiquidated
City State "ZIP Cade © Disputed
Who owes the debt? Check one. Nature of lien. Check ali that apply.
WH Debtor 1 only Wf An agreement you made (such as mortgage or secured
{} Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic’s lien)
UI At least one of the debtors and another C] Judgment lien from a lawsuit
C1 Other (including a right to offset)
C1 Check if this claim relates to a
‘ community debt
Date debt was incurred 06/30/0201 Last4 digits of accountnumber_
| 2.2) Clarke Farms HOA Describe the property that secures the claim: $ 1,883.00 $ 421,000.00 $ 0.00

 

 

Creditors Name

11002 Benton St

Number Street

10709 Jordan Ct, Parker CO 80134

 

 

 

 

 

(a Contingent
O Untiquidated
QO Disputed

Westminster CO 80020
City State ZIP Code

 

Who owes the debt? Check one.

ff Debtor 1 only

C2 Debtor 2 only

Q) Debtor 4 and Debtor 2 only

C) Atleast one of the debtors and another

Nature of lien. Check all that apply.

car loan)
(] Statutory lien (such as tax lien, mechanic’s tien)
Judgment lien from a lawsuit

U2 Other (including a right to offset)
Q) Check if this claim relates to a

community debt

Date debt was incurred 08/19/0201 Last 4 digits of account number ____

As of the date you file, the claim is: Check all that apply.

QO} An agreement you made (such as mortgage or secured

 

 

Add the dollar value of your entries in Column A on this page. Write that number here:

f__312,940.00 |

 

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of 2.

 

 
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page37 of 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Add the dollar value. of your entries in Column A on this page. Write that number here:
If this is the last page of your form, add the dollar value totals from all pages.

....Write that number here:
Official Form 106D

Debtor 4 Loren William Schrag Case number (known)
First Name. Middie Name. Last Name
Additional Page es ne oe . ‘uk . Ce ne
ge : . a . mount of claim: Value of collatera Insecured. .
After listing any entries on this page, number them beginning with 2.3, followed Donotdeductthe _ that supports this portion _
by 2.4, and so forth. value of collateral. =. claim. - Ifany.
USAA Federal Savings Bank Describe the property that secures the claim: $ 5,393.00 s 7,801.00 5 0.00
Creditors Name
1855 Telstar Dr 2010 Dodge RAM 1500 Vin#
Number Street 1D7RV1GP3AS234307
As of the date you file, the claim is: Check all that apply.
Colorado Springs CO 80920 U1 Contingent
City State ZIP Gode CQ unliquidated
Q) Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(J Debtor 4 only Wan agreement you made (such as mortgage or secured
CJ Debtor 2 only car joan)
U) Debtor 1 and Debtor 2 only C) Statutory tien (such as tax lien, mechanic's tien)
At least one of the debtors and another C2 Judgment tien from a lawsuit
C) Other (including a right to offset)
QO Check if this claim relates to a
community debt
Date debt was incurred 11/18/0201 Last 4 digits of account number _ 7 6 2 3
L_| Describe the property that secures the claim: $ $. $
Creditors Name
Number Street
As of the date you file, the claim is: Check all that apply.
LY contingent
C) Untiquidated
City State ZIP Code QO Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
U1 Debtor 1 only CY An agreement you made (such as mortgage or secured
C Debtor 2 only car loan)
LQ Debtor 1 and Debtor 2 only (Statutory lien (such as tax lien, mechanic’s lien)
(CD Atteast one of the debtors and another CY Judgment lien from a lawsuit
( Check if this claim relates to a U1 Other (including a right to offset)
community debt
Date debt was incurred Last 4 digits of account number_—
L_| Describe the property that secures the claim: $ $ $
Creditor’s Name
Number Street
As of the date you file, the claim is: Check all that apply.
CI contingent
City State ZIP Code (2 uUntiquidated
Q Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
(3 Debtor 1 only (2 An agreement you made (such as mortgage or secured
U1) Debtor 2 only car loan)
C) debtor 4 and Debtor 2 only (Statutory lien (such as tax lien, mechanic's lien)
UJ Atleast one of the debtors and another CY Judgment tien from a lawsuit
CJ Other (including a right to offset)
(2 Check if this claim relates to a
community debt
Date debt was incurred Last 4 digits ofaccount number

5,393.00
318,333.00

 

 

 

Additional Page of Schedule D: Creditors Who Have Claims Secured by Property

 

 

page2_ of 2_

 
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13

 

Page38 of 55

Fill in this information to identify your case:

 

 

 

Debtor 4 Loren William Schrag
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of Colorado

LJ Check if this is an

Case number amended filing

(if known)

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 

 

 

12/15

 

List All of Your PRIORITY Unsecured Claims

 

1. Do any creditors have priority unsecured claims against you?

( No. Go to Part 2.
wi Yes.

| 2 List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim, For :
: each claim listed, identify what type of claim it is..If a claim has both priority and nonpriority amounits, list that.claim here and show both priority and '
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority i
unsecured claims, fill out the Continuation Page of Part 1.1f more than one creditor holds a particular claim, list the other creditors in Part 3. :

(For an explanation of each type of claim, see the instructions for this form-in the instruction booklet.)

 

 

 

 

 

 

 

 

Priority. Nonpriority —

 

 

 

 

 

 

Total claim :
: amount amount. |
2.1 :
USAA Federal Savings Bank Last 4 digits of account number oO 2 3 1 $_13,873.00 $.13,873.0( $_____ 0.00
Priority Creditor's Name |
10750 McDermott Fwy When was the debt incurred? _11/20/2013 |
Number Street :
7 As of the date you file, the claim is: Check all that apply.
San Antonio TX 78288 2 contingent
i City State ZIP Code onuingen
. C) Untiquidated
Who incurred the debt? Check one. OQ disputed i
(2 Debtor 4 only
(2 Debtor 2 only Type of PRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only Wi Domestic support obligations
At least one of the debtors and another [2 Taxes and certain other debts you owe the government
O) Check if this claim is fora community debt LI Claims for death or personal injury while you were
is the claim subject to offset? intoxicated .
U3 No () other. Specity_ Divorce agreed debt
Yes !
2 IRS Last 4 digits of account number_— = g 0.00 5 0.00 , 0.00 |
Priority Creditors Name | i
Department of Treasury When was the debt incurred?
Number Street ‘
i As of the date you file, the claim is: Check all that apply. :
Fresno CA __93888 C) Contingent
City State. ZIP Code () Unliquidated
Who incurred the debt? Check one. LI Disputed
A Debtor 1 only Type of PRIORITY unsecured claim:
 pebtor 2 only

( Debtor 1 and Debtor 2 only
CJ At teast one of the debtors and another

QO) Check if this claim is fora community debt

(2 Domestic support obligations
wi Taxes and certain other debts you owe the govemment
U2 Claims for death or personal injury while you were

 

intoxicated
Is the claim subject to offset? CJ other. Specify
wu No
UYes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page 1 of 9

 
 

Debtor 4

Your PRIORITY Unsecured Claims — Continuation Page

i

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

5

i

Case:19-18031-EEB Doc#:2 Filed:09/17/19

Loren William

 

 

2
i

Entered:09/18/19 10:08:13 Page39 of 55

 

i

Schrag _

Case number (if known).

 

First Name Middle Name Last Name

 

State of Colorado - Dept. of Revenue
Priority Creditors Name

 

 

 

 

1375 Sherman St

Number Street

Denver CO 80203
City State ZIP Code

Who incurred the debt? Check one.

Cd Debtor 4 only

(CY Debtor 2 only

C} Debtor 1 and Debtor 2 only

(CI At least one of the debtors and another

U) Check if this claim is for a community debt

Is the claim subject to offset?

Total claim Priority —_ Nonpriority
me amount = amount _
Last 4 digits of accountnumber § 0.00 ¢ 0.00 s 0.00

 

When was the debt incurred?

As of the date you file, the claim is: Check ail that appiy.

Q Contingent
OQ) unliquidated
disputed

Type of PRIORITY unsecured claim:.

uf Domestic support obligations
2 Taxes and certain other debts you owe the government

CI Claims for death or personal injury while you were
intoxicated

CI other. Specify

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CI No
| OQ] Yes
i Last 4 digits ofaccountnumber_ ss ti(‘i‘ SS $ $
i Priority Creditors Name
I When was the debt incurred?
i Number Street
As of the date you file, the claim is: Check ail that apply.
QO Contingent
/ City Siale ZIP Code (2 unliquidated
C) Disputed
' Who incurred the debt? Check one.
Q bebtor 4 only Type of PRIORITY unsecured claim:
i
: 5 phe tor 2 ont (CY Domestic support obligations
entor t and Mentor 2 on'y (2 Taxes and certain other debts you awe the government
(2 At least one of the debtors and another . a .
CY Claims for death or personal injury while you were
() Check if this claim is for a community debt intoxicated
C} other. Specify

Is the claim subject to offset?

LI No

Ql Yes
: Last4digits of accountnumber_ itis $ $
: Priority Creditors Name
' When was the debt incurred?
! Number Street
} As of the date you file, the claim is: Check all that apply.
U2) Contingent
City State ZIP Code () Untiquidated
| a Disputed

Who incurred the debt? Check one.

(C) Debtor 1 only

CD Debtor 2 only

C) Debter 1 and Debtor 2 only

(CQ At teast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?

QO) No
(C Yes

Type of PRIORITY unsecured claim:

C2 Domestic support obligations
(3 taxes and certain other debts you owe the government

(2 Claims for death or personal injury while you were
intoxicated

 

CI other. Specify

 

 

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

page_

of 9

 

 

 

 

 
 

f

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page40 of 55
Debtor? Loren William Schrag Case number ¢rinown)
First Name Middle Name Last Name

i

ae st All of Your NONPRIORITY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims against you? ‘
! i
: [ No. You have nothing to report in this part. Submit this form to the court with your other schedules. i
i Yes

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. Ifa creditor has more than one :
nonpriority unsecured claim, list the creditor. separately for each claim. For each claim listed, identify what type of claim it is: Do not list claims already :
i included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part.3.1f you. have more than three nonpriority unsecured |
claims fill out the Continuation Page of Part 2.

| ae

fa] Stephanie Schrag c/o Snodgrass Law Last 4 digits of account number 40.619.00 |

Nonpriority Creditors Name $e

780 Simms St #205 When was the debt incurred?

Number Street i

Lakewood co 80401
i City State ZIP Code As of the date you file, the claim is: Check ail that apply. i :
(2 Contingent
i Who incurred the debt? Check one. (2 unliquidated | |
i Debtor 1 only C Disputed
‘ (2 Debtor 2 only
(C) Debtor 7 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C} At teast one of the debtors and another (2 student loans
: UO] Check if this claim is fora community debt QO Obligations arising out of a separation agreement or divorce (
i that you did not report as priority claims :

Is the claim subject to offset? C2 Debts to pension or profit-sharing plans, and other similar debts ‘
No wf other. Specity_Court judgement
QO Yes :

2_| Plog and Stein, LLC Last 4 digits of accountnumber_— s__446.00_
Nonpriority Creditors Name When was the debt incurred?

6021 S Syracuse Way #202

Number Street :

Greenwood Village co 80111 As of the date you file, the claim is: Check all that apply. i
City State ZIP Code Q Contingent
| Who incurred the debt? Check one. 1 unliquidated :
i debtor 4 only C} disputed
CI Debtor 2 only ' .

(2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
L] At least one of the debtors and another O Student loans
: . — . CJ Obligations arising out of a separation agreement or divorce
O) Check if this claim is for a community debt that you did not report as priority claims }
: Is the claim subject to offset? C2) Debts to pension or profit-sharing plans, and other similar debts :
Z No other. speciy_Attorney fees
Ql Yes
{| Nationwide Credit Last 4 digits of account number _0 6 1 4 6.178.00
i Nonpriority Creditors Name Wh the debt incurred? $e : i
i en was the debt incu i :
| PO Box 14581 —_
Number Street |
Des Moines IA 50306 |

As of the date you file, the claim is: Check all that apply.

 

City State ZIP Code !
QO Contingent
(2 Unliquidated
Q Disputed

Who incurred the debt? Check one.

: 4 Debtor 1 only
LJ Debtor 2 only
/ U1 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

C2 At least one of the debtors and another }
(4 Student ioans :

C) Check if this claim is fora community debt C) Obtigations arising out of a separation agreement or divorce iy
Is the claim subject to offset? that you did nat report as Priority claims _
i OQ No 2 Debts to pension or profit-sharing plans, and other similar debts

Oy. (f other. Specify_ Vehicle repossession
es

 

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page3_ of 9
Debtor 1

 

je

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page41 of 55

Loren William

Schrag

 

First Name Middle Name Last Name

Case number (known)

Fear: Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

 

 

After listing any entries on this page; number them beginning with 4.4, followed by 4.5, and so forth.

 

Total claim

 

 

 

 

 

 

 

 

 

 

 

 

 

 

44 .

USAA Federal Savings Bank Last 4 digits of account number 5 8 5 7 $11,364.00
: Nonpriority Creditor’s Name
When was the debt incurred? 09/19/2018

10750 MCDERMOTT FWY

Number Street i

. As of file, the claim is: Check all that ly. {
San Antonio ™ 78288 s of the date you file claim is: Check aif that apply.
City State ZIP Code CQ contingent
C) unliquidated

Who incurred the debt? Check one. O Disputed
2 Debtor 1 only
C1) Debtor 2 only Type of NONPRIORITY unsecured claim:
‘DD Debtor 1 and Debtor 2 only 2 student toans /
Vi Atleast one of the debtors and another tC) Obligations arising out of a separation agreement or divorce that :
| Check if this claim is for a community debt you did not report as priority claims 7
i OQ) Debts to pension or profit-sharing plans, and other similar debts ;
Is the claim subject to offset? 6 other. Specify Bank overdraft
| No ;
/ C3 Yes :
45 igi 6 8 9 6 80.0
USAA Casualty Insurance Company Last 4 digits of accountnumber 6 8 9 6 ¢__ 380.00
i Nonpriority Greditor's Name :
j j
: . When was the debt incurred? 12/12/2018 ‘
9800 Fredericksburg Rd oO /
: Number Street i
\ . As of the date you file, the claim is: Check all that apply. i
_ San Antonio T™ 78288 y aepey |
i City State ZIP Code (2 Contingent
() unliquidated
‘ Who incurred the debt? Check one. . :
one. O) disputed
: | Debtor 1 only
LI Debtor 2 only Type of NONPRIORITY unsecured claim: :
5 Debtor 1 and Debtor 2 only QQ Student toans
i Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
: (J Check if this claim is for a community debt you did not report as priority claims .
C2 bebts to pension or profit-sharing plans, and other similar debts |
Is the claim subject to offset? 64 other. Specify_Car Insurance Balance
} id No .
Cl Yes :
[4.6 5177 $2,590.00 |
PayPal Credit Last 4 digits of accountnumber 9 7 of /
: Nonpriority Creditors Name :
i When was the debt incurred? :
PO Box 71202
i Number Street
: As of the date you file, the claim is: Check all that apply.
| Charlotte NC 28272 y ° apply
City Slate ZIP Gode (2 Contingent
| C2 unliquidated i
Who incurred the debt? Check one. Disputed
t i
: 4 Debtor 4 only
: C Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (2 Student toans
Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as priority claims .
(2 Debts to pension or profit-sharing plans, and other similar debts i
is the claim subject to offset? (A other. specify_ Credit

| No

Ql Yes
Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page4_ of 9

 
 

Debtor 4

Case:19-18031-EEB Doc#:2 Filed:09/17/19

Loren William

Schrag

 

First Name Middle Name Last Name

 

J EME Sains rial tia Soto sd 2 Was eee cA i

Entered:09/18/19 10:08:13

Case number (f known),

a Your NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

Page42 of 55

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

~aeenemnm _
| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim -
4.7 ; ; Last 4 digits of accountnumber_1 6 5 1 |
Midland Credit Management go — a ¢ 18,679.00,
: Nonpriority Creditors Name }
| : : : Wh the debt in 2 i
| 2365 Northside Drive, Suite 300 en'was the debt incurred
} Number Street |
i . il im is: . i
San Die go CA 92108 As of the date you file, the claim is: Check all that apply
City State ZIP Code C) Contingent
; C2 Unliquidatea
Who incurred the debt? Check one. (2) Disputed
(Af Debtor 4 only
C2 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor t and Debtor 2 only 2 Student toans |
Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that i
Check if this claim is for a community debt you did not report as priority claims
: ty (2 Debts to pension or profit-sharing plans, and other similar debts :
is the claim subject to offset? MA other. Specify Credit Card
wi No
QO Yes i
4.8 igi 9 16 1 |
Midland Credit Management Last 4 digits of accountnumber Yo 7 0 TT $_2,354.00
Nonpriority Creditors Name :
. . . When was the debt incurred? 10/10/2018 '
2365 Northside Drive, Suite 300 TT
! Number Street i
: : As of the date you file, the claim is: Check all that apply. i
San Diego CA 92108 se y Clann iss Rene ah na APPLY
| Ciy State ZIP Code QQ Contingent
CI uniiquidatea
: Who incurred the debt? Check one. 0 pisputed '
| Debtor 1 only
Q Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only (2 student toans
: At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that :
C) Check if this claim is for a community debt you did not report as priority claims
: LI Debts to pension or profit-sharing plans, and other similar debts i
Is the claim subject to offset? WA other. specify_ Credit Card i
! 7 No
C3 Yes |
4.9 4,180.00.
: : Last 4 digits of accountnumber 2 0 O 4 $e
American Express 9 4S eS
| Nonpriority Creditors Name ‘
When was the debt incurred? i
PO Box 408 unre
Number Street :
As of the date you file, the claim is: Check alt that . }
Ramsey Nu 07446 Ss y i e claim is: Check ai apply.
City State ZIP Code CQ Contingent :

Official Form 106E/F

Who incurred the debt? Check one.

Wi Debtor 1 only

CQ debtor 2 only

(2 Debtor 1 and Debtor 2 only

(C) At least one of the debtors and another

C2) Check if this claim is for a community debt

is the claim subject to offset?

Ww No
C} Yes

C2 unliquidated
O Disputed

Type of NONPRIORITY unsecured claim:

2 Student foans

O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

other. Specify_ Credit

 

Schedule E/F: Creditors Who Have Unsecured Claims

paged _of 2

 
Debtor 4

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13

William

Middle Name

Schrag

Last Name

Loren

First Name

 

Case number (Fknown).

pata Your NONPRIORITY Unsecured Claims — Continuation Page

| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

 

ia

 

 

 

 

Page43 of 55

‘Total claim

 

5 3,632.00

 

 

 

 

 

 

 

 

 

Q) unliquidated

Capital One N.A. Last 4 digits of account number 6 2 3 6
i Nonpriority Creditors Name
: . . When was the debt incurred? 96/30/2019 i
1680 Capital One Drive
: Number Street i
: f ile, th im is: Ch ll ly. :
| McLean VA 22102 As of the date you file, the claim is: Check all that apply. |
City Stale ZIP Code 2 Contingent
OQ unliquidated
Who incurred the debt? Check one. Q) bisputed
: 4 Debtor 4 only
(CI Debtor 2 only Type of NONPRIORITY unsecured claim: :
5 Debtor 1 and Debtor 2 only (2 student toans
At least one of the debtors and another UL) Obligations arising out of a separation agreement or divorce that (
i ° - f
O) Check ff this claim is for a community debt you did not report as priority claims
: OQ debts to pension or profit-sharing plans, and other similar debts :
is the claim subject to offset? @ other. Specify Credit Card
w No
: Qi Yes
[esl igi 4 07 9 61 |
USAA Credit Card Services Last 4 digits of accountnumber 4. (0 7 9 $ 24,6 9.00
: Nonpriority Creditors Name i

When was the debt incurred? |

10750 MCDERMOTT FWY :
i Number Street j
\ . As of the date you file, the claim is: Check all that apply. i
' San Antonio TX 78288 ” apy
| City State ZIP Code O Contingent
Q) unliquidated :
: Who incurred the debt? Check one. C2 Disputed :
1 Debtor 1 onty
C] Debtor 2 only Type of NONPRIORITY unsecured claim: '
4 Debtor 1 and Debtor 2 only (2 student loans :
Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
() Check if this claim is for a community debt you did not report as priority claims
: (2 Debts to pension or profit-sharing plans, and other similar debts :
: Is the claim subject to offset? C) other. Specify_Credit Card |

of No :
' C] Yes
44] 006 ¢__ 600.00
Cc enturyLink Last 4 digits of accountnumber <4 U VU 60 |
Nonprionty Creditors Name i
i When was the debt incurred? {
PO Box 91155
L Number Street !
i As of the date you file, the claim is: Check all that apply. i
| Seattle WA 98111 " aap

City State ZIP Code 2 Contingent i

Official Form 106E/F

Who incurred the debt? Check one.

U Debtor 1 only

C2 Debtor 2 only

(CJ Debtor 7 and Debtor 2 only

() At least one of the debtors and another

(1) Check if this claim is for a community debt

is the claim subject to offset?

wf No
CI Yes

QO} pisputed

Type of NONPRIORITY unsecured claim:

C2 Student toans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 pebts to pension or profit-sharing plans, and other similar debts

MW other. Specify_ Internet Service Bill

Schedule E/F: Creditors Who Have Unsecured Claims

pageS_of 9

 
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19

Debtor 4 Loren William Schrag

 

First Name Middle Name Last Name

Case number (if known),

Entered:09/18/19 10:08:13 Page44 of 55

 

a NONPRIORITY Unsecured Claims — Continuation Page

 

 

 

 

 

 

4

 

 

 

 

 

 

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Total claim /

Ae _ |

Pi DirecTV - AT&T Last 4 digits of account number Oo. A 5 2 $ 167.00

: Nonpriority Creditors Name '

When was the debt incurred? i

PO Box 5014

Number Street :

A file, claim is: i that . :

Carol Stream iL 60197 S of the date you file, the claim is: Check all that apply.

City State ZIP Code CQ Contingent

OQ Unliquidatea
(

i Who incurred the debt? Check one. © disputed ‘

WI Debtor 1 only

Q) Debtor 2 only Type of NONPRIORITY unsecured claim:

5 Debtor 1 and Debtor 2 only O Student loans

i Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that :

C Check if this claim is for a community debt you did not report as priority claims

: OQ pebts to pension or profit-sharing plans, and other similar debts '

i Is the claim subject to offset? 6 other. Specify Cable television

wf No

CI Yes )

LJ Last 4 digits of accountnumber $

Nonpriority Creditors Name

When was the debt incurred? :

Numbi Street

i “mer °° As of the date you file, the claim is: Check all that apply. i

City State ZIP Code (2 Contingent

; LY unliquidated

Who incurred the debt? Check one. ©) Disputed

CY Debtor 4 only

: ] Debtor 2 only Type of NONPRIORITY unsecured claim:

5 Debtor 1 and Debtor 2 only O Student loans

At least one of the debtors and another (J obligations arising out of a separation agreement or divorce that

C) Check if this claim is for a community debt you did not report as priority claims |

i (2 Debts to pension or profit-sharing plans, and other similar debts i

i Is the claim subject to offset? C) Other. Specify :

C} Yes

$ i

 

 

Nonpriority Creditors Name

 

Number Street

 

City State ZIP Code

Who incurred the debt? Check one.

: C1 Debtor 4 only

: CJ Debtor 2 only

{ (J Debtor 1 and Debtor 2 only

(C2 Atleast one of the debtors and another

C} Check if this claim is for a community debt

is the claim subject to offset?

: Q No
; O} Yes

Last 4 digits of account number ___

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
U1 unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

CJ Student foans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

UI Debts to pension or profit-sharing plans, and other similar debts

QO) other. Specify.

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

page? of 9

 

 

 
i 1

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page45 of 55

Debtor 1

Loren

First Name

William

Middle Name

Schrag Case number (irimown)

Last Name

List Others to Be Notified About a Debt That You Already Listed

 

t
i

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the

additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

 

 

 

On which entry in Part 1 or Part 2 did you list the original creditor?

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name
Line of (Check one): (2 Part 1: Creditors with Priority Unsecured Claims
Number Street U Part 2: Creditors with Nonpriority Unsecured Claims
Last 4 digits ofaccountnumber
City State __ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): LI Part 1: Creditors with Priority Unsecured Claims
Number Street () Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits ofaccountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
Number Street (2 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber
City . State ZIP Code | _ ; . . ;
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C1 Part 1: Creditors with Priority Unsecured Claims
Number Street UO Part 2: Creditors with Nonpriority Unsecured
Claims
: Last 4 digits ofaccountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): () Part 1: Creditors with Priority Unsecured Claims
Number Street C1 Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Check one): C3 Part 1: Creditors with Priority Unsecured Claims
Number Street Q Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_
City State ZIP Code
Sans On which entry in Part 1 or Part 2 did you list the original creditor?
Line of (Check one): O1 Part 1: Creditors with Priority Unsecured Claims
Number Street . : os
Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits ofaccountnumber_

City

Official Form 106E/F

State

ZIP Code

Schedule E/F: Creditors Who Have Unsecured Claims

page8_of 9__

 
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page46 of 55

 

Debtor1 Loren William Schrag
First Name Middle Name Last Name

ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
i Add the amounts for each type of unsecured claim.

Total claims
from Part 1

Tota! claims
from Part 2

 

Official Form 106E/F

 

6a.

6b.

6c.

6d.

6e.

6h.

6i.

Domestic support obligations

Taxes and certain other debts you owe the
government

Claims for death or personal injury while you were
intoxicated

Other. Add alt other priority unsecured claims.
Write that amount here.

Total. Add lines 6a through 6d.

. Student loans

. Obligations arising out of a separation agreement

or divorce that you did not report as priority
claims

Debts to pension or profit-sharing plans, and other
similar debts

Other. Add all other nonpriority unsecured claims.
Write that amount here.

6j. Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6e.

6f.

6g.

6h.

Gi.

6j.

Case number (ifinown),

 

 

 

 

 

 

Total.claim
$ 13,873.00
$ 0.00
$ 0.00
+5 0.00
$ 13,873.00
Total claim
$ 0.00
$ 0.00
§ 0.00
+5 85,804.00
$ 85,804.00

 

 

Schedule E/F: Creditors Who Have Unsecured Claims

i

 

 

 

page of 9
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page47 of 55

Fill in this information to identify your case; .

Debtor Loren William Schrag

First Name Middle Name Last Name

 

Debtor 2
(Spouse #f filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of Colorado

c be: scan:
(iknow) " (J Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 412115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

 

1. Do you have any executory contracts or unexpired leases?
(C) No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
@ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List Separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or iease is for

2) AT&T Cell phones - two for business (Debtor 1 and Spouse)
Name and two for dependent children.
PO Box 6416

Number Street
Carol Stream IL 60197
City State ZIP Code

 

 

 

 

22 Backcountry Hunters and Anglers (BHA) Sponsorship agreement between BHA and Good Bull

» Name Outdoors, LLC.
PO Box 9257

i Number Street

: Missoula MT 59807

| ____ City _ “State ZIP Code

 

Harrigan Land Co. Social media management agreement with GBO
/ Name providing month to month paid services to Harrigan Land

Co.
i Number Street

Sedalia co 80135
City State ZIP Code

 

 

 

Mile High Note Game Calis Social media management agreement with GBO

/ Name providing month to month paid services to Mile High
585 Promonotory Drive Note Game Calls.

: Number Street

Loveland co 80537

| City State ZIP Code _

 

 

 

 

 

 

 

 

 

 

Name

 

Number Street

 

City State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1 of 1_
 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page48 of 55

IRR TEM OS claurTch Rts identify your-case:

Debtor 4 Loren William Schrag

First Name Middie Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: District of Colorado

 

Case number
(if known) C) Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

 

1. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.)
»  CINo
“i Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

wi No. Go to line 3.
| L) Yes. Did your spouse, former spouse, or legai equivalent live with you at the time?
LJ No

C) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

_ 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person

! shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Cofumn.1: Your codebtor Column.2: The creditor to whom you owe the debt

Check all schedules that apply:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3.1 ;
Stephanie Schrag U2 Schedule D, fine
W Schedule E/F, line 4.1.
Number ~ ‘Street (9 Schedule G, fine |
Centennial co
City Sate, Zip Code
3.2) Loren H. Schrag, Jr
aon _vonrag, Wf Schedule D, line 2.3
208 3rd St W (J Schedule E/F, line
Number Street O) Schedule G, line
Roundup MT 59072 :
City : State ZIP Code
3.3 . .
Allison Ludvigsen Q Schedule D, line
Name , oe {
410709 Jordan Ct W Schedule E/F, line 4.4
Number Street U0) Schedule G, line
Parker co 80134 |
City. cen . . co ERR cnt? COPE |

 

 

Official Form 106H Schedule H: Your Codebtors page 1 of 1.

 

 
i

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page49 of 55

Fill in this Renee to identify your case:

Debtor1 Loren William Schrag

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of Colorado

Case number Check if this is:
(if known)
CJ An amended filing

CJ A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 wT Dor
Schedule I: Your Income 12145

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

(1. Fill in your employment _
- information. Debtor 1 Debtor 2 or non-filing spouse

 

 

 

 

 

 

If you have more than one job,

1
| attach a separate page with
{

information about additional Employment status C) Employed U Employed
employers. i Not employed C2 Not employed
Include part-time, seasonal, or
self-employed work. .

proyeew Occupation CEO - Part time self employed

 

Occupation may include student
or homemaker, if it applies.

Employer's name Good Bull Outdoors, LLC

Employer's address 10709 Jordan Ct

 

 

 

 

Number Street Number Street
Parker CO 80134
: City State ZIP Code City State ZIP Code
How long employed there? 2 years 2 years

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. include your non-filing
spouse unless you are separated.
| If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
| below. If you need more space, attach a separate sheet to this form.

 

: For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

( deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $
3. Estimate and list monthly overtime pay. 3. +5 0.00 + ¢
| 4. Calculate gross income. Add line 2 + line 3. 4.| $ 0.00 $
| |

 

 

 

 

 

Official Form 1061 Schedule I: Your Income page 4

 
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page50 of 55

Loren William Schrag

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Case number (Fknown),
First Name- Middle: Name LastName
For Debtor 1 For Debtor 2 or
/ non-filing spouse
| Copy Fine 4 Mere... .scsccssssssssssssssssssssssssecssseeucesossssuansestnceeseucenseseeeereeeee 4 § 0.00 $
_ 5. List all payroll deductions:
| 5a. Tax, Medicare, and Social Security deductions 5a. ¢ 0.00 $
| 5b. Mandatory contributions for retirement plans 5b. 0.00 $
| 8c. Voluntary contributions for retirement plans Be $ 0.00 $
5d. Required repayments of retirement fund loans Sd. §$ 0.00 $
5e. insurance Se. § 0.00 $
5f. Domestic support obligations 5f. $. 0.00 $
5g. Union dues 5g. § 0.00 $
_ 5h. Other deductions. Specify: 5h. +¢ 0.00 +3
6. Add the payroll deductions. Add lines 5a + 5b+ 5c+5d+5e+5f+5g+5h. 6. § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. $ 0.00 $
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a. ——
‘8b. interest and dividends 8b. § 0.00 $
8c. Family support payments that you, a non-filing spouse, or a dependent
: regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 373.00 $
settlement, and property settlement. 8c. To
8d. Unemployment compensation 8d. 0.00 $
8e. Social Security 8e. § 0.00 $
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
i Nutrition Assistance Program) or housing subsidies.
Specify: a $0.00 $
8g. Pension or retirement income 8g. § 0.00 $
8h. Other monthly income. Specify: 8h. +3 0.00 +¢
| 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h. 91 $ 373.00 $
10. Calculate monthly income. Add line 7 + line 9. 373 73.0
‘ Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $___373.00 § u 373.00
j
: 11. State all other regular contributions to the expenses that you list in Schedule J.
| Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
_ friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J. i
Specify: W.% $ 828.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 1.201.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. SU
Combined

_ 13.Do you expect an increase or decrease within the year after you file this form?

Official Form 106}

CJ No.

monthly income

 

Ml Yes. Explain:

 

iam continuing to seek full time employment in my profession as an IT Manager or Senior PM.

 

 

Schedule I: Your Income

page 2

 
1

Case:19-18031-EEB Doc#:2 Filed:09/17/19

 

Entered:09/18/19 10:08:13 Page51 of 55

Fill in:this information to identify your case:

Loren William Schra cahig t
Debtor 1 ach aga test Name g Check if this is:

 

Debtor 2 (J An amended filing

(Spouse, if filing) First Name Middle Name Last Name
. (2 A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of Colorado expenses as of the following date:

Case number . MM / DD/ YYYY
(If known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 42115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

Describe Your Household

1. Is this a joint case?

 

Wi No. Goto line 2.
LJ Yes. Does Debtor 2 live in a separate household?

C3 No
(] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

 

 

2. Do you have dependents? UO No ae .
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and &f Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent................------ Oo
Do not state the dependents’ Daughter 15 wi No
names. Yes
Daughter 13 1 No
: wi Yes
Son 17 i No
CQ) Yes
CQ) No
OC) Yes
U) No
(3 Yes
3. Do your expenses include C) No

expenses of people other than wi
___yourself and your dependents?“ Yes |

ee Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

 

such assistance and have included it on Schedule I: Your Income (Official Form 1061.) Your expenses

4. The rental or home ownership expenses for your residence. Include first morfgage payments and ~ : 7
_ $ 1,657.00
any rent for the ground or lot. 4.

 

If not inciuged af

 

 
 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page52 of 55

 

 

 

 

 

 

 

Case number (itknown),

 

Debtor 4 Loren William Schrag
First Name Middle Name Last Name
5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. Telephone, cell phone, Internet, satellite, and cable services
6d. Other. Specify:
7. Food and housekeeping supplies
8. Childcare and children’s education costs
9. Clothing, laundry, and dry cleaning
10. Personal care products and services
11. Medical and dental expenses
12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. Insurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
15d. Other insurance. Specify:
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:
17. Installment or lease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other. Specify:
17d. Other. Specify:
18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule |, Your Income (Official Form 1061).
19. Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule /: Your income.

Official Form 106J

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

6a.
6b.
6c.

6d.

10.
41.

12.
13.

14.

 

15a.

15b.

18c.

18d.

16.

17a.

17b.

17c.

47d.

18.

19.

20a.

20b.

20c.

20d.

20¢e.

Your expenses

RAAF A HH HW

PA Ff HF A

PF Ff HF

AA fH Ff

366.00
128.00
233.00

500.00
0.00
0.00

20.00

150.00

150.00

0.00
0.00

0.00
0.00

137.00
0.00

0.00

342.00
0.00
0.00
0.00

828.00

0.00

0.00

0.00

0.00

0.00
0.00

page 2

 
 

4

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page53 of 55

 

 

Debtor 4 Loren William Schrag _ Case number ¢rknown,
First Name Middle Name Last Name
21. Other. Specify: 21. +S 0.00

 

 

22. Calculate your monthly expenses.

22a. Add lines 4 through 21. 22a. | § 5,157.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | ¢ 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 226. $ 5,157.00

 

 

 

23. Calculate your monthly net income.

§ 1,201.00

 

23a. Copy line 12 (your combined monthly income) from Schedule 1. 23a.

23b. Copy your monthly expenses from line 22c above. 23d. —¢ 5,157.00

23c. Subtract your monthly expenses from your monthly income. 3 956.00
The result is your monthly net income. 236. $ ——

 

 

 

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

LINo Ce co — co i
idl Yes. _ Explain here: | expect some costs to increase, such as transportation, after | become employed again.

 

Official Form 106J Schedule J: Your Expenses page 3

 
Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page54 of 55

Fillin this information to identify your case:

Debtor 1

 

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: District of

Case number
(If known)

 

U Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42145

 

{f two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wf No

Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

 

 

 

! GO
cape a a
X Loren William Schrag of fF \%
Signature of Debtor 1 | fp be " Signature of Debtor 2
pate 09/13/2019 / Date
MM? DD 7 YYYY MM/ DD / YYYY

 

 

 

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

 
 

 

 

Case:19-18031-EEB Doc#:2 Filed:09/17/19 Entered:09/18/19 10:08:13 Page55 of 55

tim) this diabcedidieiaiea ice) lanai ideal prt

 

UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
Debtor 1: LOth Ww? [i any Se bra q Case #:
First Name _ Middie Name Last Name yo

‘Debtor 2: | Chapter:
First Name Middle Name Last Name

 

Local Bankruptcy Form 1007-6.1 : .
Statement Under Penalty of Perjury Concerning Payment Advices

Compiete the applicable sections and check the applicable boxes.

Statement

L, Lory ml Ly liam schoo [name]! state as follows: —

| did not file with the court copies of some or all payment advices or other evidence of payment received within 60 days
before the date of the filing of the petition from any employer because:

A wasn Gt empl ai during the, period immediately preceding the filing of the above-referenced case:
a OTe de Cure.
. mW

[insert the ada ma were +s employed].

oO Iwas employed during the period immediately preceding the filing of the above referenced case but did not
receive any payment advices or other evidence of payment from my employer within 60 days before the date of
the filing of the petition.

lam sel-employed and do not receive any evidence of payment from an employer.

Other:
[please provide explanation].

OO

 

[EBSPA verification of Debtor _

 

| declaré under penaity of perjury that the foregoing is true and correct.

Dated: 4 7/17 By: fa

or of Debtor Ze
Mdilifig Address: 1O70F Torlan Ct lle eC Co JO/34

Telephone number. _720- 443-¥og0
Facsimile number:

E-mail address: Loreniy Schedg Camon Com

 

1 A separate form must be completed and signed by each debtor.” ,

 

 

 
